                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

In Re: Akoustis Technologies, Inc.

                                                      )
Qorvo, Inc.                                           )
                                                      )
                       Petitioner,                    ) Civil Action No. 24-00006 (UNA)
          v.                                          )
                                                      ) Bankruptcy Case No. 24-12796 (LSS)
                                                      )
Akoustis Technologies, Inc.                           )
                                                      )
                       Respondent.                    )
                                                      )
                                                      )


                                             NOTICE

A Motion to Withdraw the Reference with Respect to the Bidding Procedures and Sale Motion
was docketed in the U.S. District Court on 1/02/2025. Upon assignment of this case, counsel
shall submit to the Clerk’s Office of the U.S. District Court courtesy copies of the Motion to
Withdraw and any related briefing.

When filing papers, please include the case caption, civil action number, and the initials of the
Judge assigned. Any attorneys of record who are not members of the Bar of this Court shall
associate with local counsel in accordance with District of Delaware Local Rule 83.5.


                                              Randall Lohan
                                              Clerk of Court

Date: 1/02/2025
cc:    U.S. Bankruptcy Court
       Counsel
